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AUSA: Steven P. Cares Telephone: 313-226-9139

   
 

Special Agent : Keith McGreevy, DEA Telephone: 313-234-4000

AO 91 (Rev. 08/09) Criminal Complaint

UNITED STATES DISTRICT COURT

for the ©
Eastern District of Michigan

United States of America,

Plaintiff,  Case:2:1 5-mj-30572
Brian Maurice Brown ! Judge: Unassigned,
_ Filed: 12-03-2015 At 03:19 PM
SEALED MATTER (LH)

Defendant(s).

 

CRIMINAL COMPLAINT

I, the complainant in this case, state that the following is true to the best of my knowledge and belief:

 

 

 

On or about the date(s) of December 2, 2015 , In the county of _ Wayne
in the Eastern District of Michigan oe , the defendant(s) violated:
Code Section Offense Description
18.U5.C, § 922(g}(1) Felon in possession of a firearm

wa

This criminal complaint is based on these facts:

SEE ATTACHED AFFIDAVIT

kJ Continued on the attached sheet. Zk I.
AX UL

PmplainasLSignature

 

Keith McGreevy, Special Agent, DEA
Printed name and title

Ab

Judge's signature

Sworn to before me and signed in my presence.

 

ro

Date: December 3, 2015

City and state: Detroit, Michigan Mona K. Majzoub, United States Magistrate Judge
Printed name and fitle .

 
   

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: | L, Keith MeGreevy being duly 5 sworn, depose and state the following:

INTRODUCTION

 

 

 

ool “Your affiant i 1s s currently employed as a Special Agent (SIA) |

 

_ with the Department of Justice, Drug Enforcement Administration (DEA) mage ote

 

andh has beén so employed for the past ISyears. Prior to employment with |

 

 

the DEA, your affiant ‘spent 5 years as a Police Officer i in IIlinois. ‘During:

 

 

this time your affiant has conducted and has been involved i in conducting

 

numerous invéstigations relating to the manufacture and distribution of

 

. cocaine and other controlled substances. Your affiant has attended schools’ .

 

 

and has been instructed in many aspects of narcotics investigation andis
7 familiar with the laws promulgated under Title 21 of the United States Code. .

Your affiant is aware of the following information from numerous sources _

 

included. but not limited to, your affiant’s observations and participation in

 

 

_ the investigation, your affiant’s review and analysis of oral and written

_ reports, information received from witness interviews and information

 

. ‘obtained from reliable sources of information (SOI). The affiant states as

 

 

follows.
2. ot make this affidavit from pérsonal knowledge based on my -

participation in this investigation, including communications with others

 

 

 
  
 

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who have personal knowledge of the events and circumstances described oe ee
7 herein, ora and written reports about this investigation which your affiant
received, directly or indirectly from law enforcement personnel, information 2
os gained through my training and experience; and seizure of'a weapon,
os 3. The information outlined below is provided for the limited -
: purpose of establishing probable catlse, and does not contain all details or all
facts which exist pertaining to this investigation. This is affidavit is provided
“in support of an application for a complaint and an arrest warrant of of Brian |
Maurice BROWN, date of birth (pop) XX/XX/ 1969... Your affiant believes :
BROWN violated Title 18, ‘United States Code, Section va2(@ (felon i in
possession of a firearm).
co | 4. Le am m currently involved i in.an investigation of a subject |
a identified as Brian Maurice BROWN a/k/a Peanut, DOB XX/XX/ 1969, who " ae
currently resides i in 1 Detroit, Michigan. This investigation concerns BROWN
and violations of Federal firearms laws. |
__ INVESTIGATION & PROBABLE CAUSE
Se. 7 On December 01, 2015, the Honorable Magistrate Judge Mona
Majzoub of the | Eastern District Court of Michigan, a authorized a search
warrant for the residence of of 8601 West Parkway, Detroit, Michigan, a

| residence utilized by Brian BROWN.

 

 
 

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(6. ‘On December 02, 2015, agents assigned to the Detroit DEA.
executed the Federal search warrant st 8601 West Parkway, Detroit, :
Michigan. Upon entry into the residence, agents encountered the occupants,
Sabrina LEWIS, who is BROWN’s girlfriend, and BROWN ’s new born |
| baby. |
7. Prior to searching the residence, Sabrina LEWIS advised SA
Edward Donovan that BROWN had departed'the residence 45 minutes prior
~ to agents’ arrival and that BROWN sleeps in the master bedroom where his |
clothes and personal belonging were later located.
8. During a search of the master bedroom, agents and officers
located clothing and shoes belonging to Brian BROWN along with a
commercial money counter, drug packaging materials, documents bearing
the name Brian BROWN and latex gloves.
9. Additionally, agents located and seized a loaded .40 caliber
| Smith and Wesson semi-automatic handgun bearing serial number HEZ0029
(which was partially obliterated) from the top of the nightstand in the master
bedroom, -
‘10. According to records obtained from the Law Enforcement
Information Network (LEIN), the aforementioned handgun was reported

stolen in Mason County, West Virginia.

 
 

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i ose! ee I I On the saris date, SA Donovan snterviewed Sabrina LEWIS, we
who stated that the Smith and Wesson handgun was not hers and that the i
| weapon belongs to BROWN. LEWIS also denied ownership of the
commercial money counter and the drug packaging materials. LEWIS stated
that she and BROWN have had a romantic relationship since she was 18
years old and that she and BROWN recently had their first child together.
LEWIS stated that when BROWN is not in Atlanta with his wife, he resides _
with LEWIS at the residence. |
12, A computerized criminal history check of BRIAN BROWN, |
DOB XX/XX/1969, revealed that he has felony conviction for: Conspiracy
and Possession with Intent to Deliver Cocaine in the Bastem District of
| Michigan. Based on this conviction BROWN was sentenced to 120 months
in Federal Prison and to five years of supervised release. |
13. On December 3, 2015, I contacted Bureau of Alcohol, Tobacco,
Firearms and Explosives Nexus Expert Special Agent Curtis Brunson
_ regarding the status of the firearm. Special Agent Brunson stated that, based |
‘on the descriptions provided, without physically examining the firearms, the
firearms were manufactured outside of the state of Michigan after 1898, and

therefore had traveled in and affected interstate commerce.

 

 
    
 
     

   

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- : 14. | ‘Based on the above ve fects, I have probable cause to o believe that

 

= Brian BROWN, a convicted felon, did knowingly and intentionally possess a ‘
firearm, @ 40 caliber simith and Wesson semi- jutomatic handgun, serial :
- number HEZ0029, which traveled in and affected intestate commerce in -
violation of Title 18 US. Cc. § 922(a)(1) 0 on December 02, 2015, in the

County of Wayne, Eastern Judicial District of Michigan.

   

Drug Sufolecment Administration

5 Sworn to before me and subscribed i in my presence,
his 3rd day of Decernber, 2015. —

sul. apa —

_. .. Honorable Mona K: Majzoud
U.S. Magistrate Judge ~

 
